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                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA


NATIONAL SMALL BUSINESS UNITED,
  et al.,

              Plaintiffs,

       vs.                                     Case No. 5:22-cv-01448-LCB

JANET YELLEN, in her official capacity as
   Secretary of the United States Department
   of Treasury, et al.,

              Defendants.


                 MOTION OF TRANSPARENCY ORGANIZATIONS
                    AND SMALL BUSINESS ASSOCIATION
                   FOR LEAVE TO FILE AS AMICI CURIAE
                       IN SUPPORT OF DEFENDANTS
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       The Financial Accountability & Corporate Transparency (“FACT”) Coalition,

Transparency International U.S., and Main Street Alliance (collectively “proposed amici”)

respectfully ask that this Court grant leave to file the attached amici curiae brief in support of

Defendants. The proposed brief is attached as Exhibit A. Defendants have consented to the

motion, while Plaintiffs have indicated that they will oppose it.

       Proposed amici are two transparency organizations that worked to enact the Corporate

Transparency Act (“CTA”) and that advocate for increased transparency in the global financial

system, as well as a small business association that supported the Act and advocates for policies

that benefit small businesses. Proposed amici seek to file this brief to provide information

regarding the importance of the CTA in combatting money laundering, the de minimis nature of

the burden the CTA will impose on small businesses, and the benefits of the Act for small

business owners that wish to compete in a fair marketplace.

       “Although there is no formal rule governing the filing of amicus curiae briefs, district

courts possess the inherent authority to grant or refuse leave to amicus parties.” Ga. Aquarium,

Inc v. Pritzker, 135 F. Supp. 3d 1280, 1288 (N.D. Ga. 2015). “Courts typically grant amicus

status where the parties contribute to the court’s understanding of the matter in question by

proffering timely and useful information.” Id. at 1288-89 (citing Harris v. Pernsley, 820 F.2d

592, 603 (3d Cir. 1987)). The proposed brief satisfies this standard.

       First, the proposed brief provides useful information. As organizations that worked to

help enact the CTA, proposed amici have expertise on the issues before the Court. FACT

Coalition, for example, is a non-partisan alliance of more than 100 state, national, and

international organizations that promote policies that curb the harmful impacts of corrupt

financial practices, including the use of anonymous companies to launder money and commit

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other financial crimes. Likewise, Transparency International U.S. is part of the largest global

coalition dedicated to fighting corruption, which is frequently facilitated by the abuse of

anonymous companies. Finally, Main Street Alliance is a small business membership

organization that advocates for policies that benefit small businesses, such as the CTA.

       Reflecting proposed amici’s combined expertise, the attached brief draws on years of

research from United States agencies, intergovernmental bodies, and anti-money laundering

think tanks to clarify arguments made by Plaintiffs. Among other arguments, Plaintiffs suggest

that the CTA cannot survive rational basis review of various constitutional claims because the

Act is “not a rational means to achieve its stated goals.” Pls.’ Mem. Law Supp. Mot. Summ. J.

(“Pls.’ MSJ”) at 2, 33. Specifically, Plaintiffs argue that the CTA weakens the preexisting legal

framework for collecting beneficial ownership information, represents an unprecedented

intrusion into privacy rights, and will impose thousands of dollars of unwarranted costs on small

businesses. The brief proposed by Amici addresses each of these arguments .

       Second, the brief is timely and will not delay consideration of Plaintiffs’ motion. While

neither the Federal Rules of Civil Procedure, nor the local rules of this Court address the timing

of amicus briefs, the Federal Rules of Appellate Procedure allow amicus briefs to filed within “7

days after the principal brief of the party being supported is filed.” Fed. R. App. P. 29(a)(6).

Here, Proposed amici have met the analogous deadline, providing Plaintiffs with time to address

proposed amici’s arguments in their reply.

       Accordingly, proposed amici respectfully request that the Court grant their application for

permission to file the attached brief.




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Dated: April 5, 2023                       Respectfully submitted,

/s/ J. Elliott Walthall                    /s/ Kristen P. Miller
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